Case 1:17-cv-02393-JMF Document 142-18 Filed 07/17/18 Page 1 of 2




                   EXHIBIT 18
                                        Case 1:17-cv-02393-JMF Document 142-18 Filed 07/17/18 Page 2 of 2


                                                                                C240

                                                                                Total Wages: $18,092.44
                                                                                Using a 46 week divisor, AWW: $393.31

                                                                                TTD: $262.21
                                                                                Marked: $196.66
                                                                                Moderate: $150 (min)
1/12/2016   MEPERRY   MEPERRY   Claim   FN        Financial                     Mild: $150 (min)
                                                                                Mount Sinai 2
                                                                                This is the ER number, I asked for the billing department. I was transferred to the switchboard. I asked for the billing
                                                                                department again. I was transferred.

1/12/2016   MEPERRY   MEPERRY   Claim   MD        Medical Status/Management I was on hold for approx 6 minutes and disconnected the call.

                                                                                I called the clmt at             . I let her know that the amount of her check would be $262.21 per week. I explained to
                                                                                her that the check was entered into the system today and the check would be mailed out tomorrow. I explained to her that
                                                                                was the pay for one week. I explained to her again there is a 7 day waiting period which applied from 12/17/2015-
                                                                                12/23/2015. I paid her out of work from 12/24/2015-12/30/2015. I stated to pay her for the initial 7 day waiting period and
                                                                                ongoing lost time I would need ongoing medical records to support a disability. She argued with me that she faxed me over
                                                                                medical records from the ER and I explained to her I did not have anything. I had to disconnect the call as she was screaming
                                                                                and becoming hostile.

                                                                            She called me back. She began screaming and yelling again. I asked her if she sought treatment outside out Mt Sinai ER and
                                                                            she stated she sought treatment with pain management and a psychiatrist that do not accept WC. I stated she would need
                                                                            to find providers that accept WC so the billing can be sent to Sedgwick as well as the medical records for ongoing lost time. I
                                                                            requested she fax me over the records she had from Mt Sinai and request the records from the two current MDs and send
                                                                            them over. I stated once she found new treating providers she would need to provide me with the name and phone number
                                                                            so I can be in constant contact for the medical records and treatment status. She stated she would send the records from
1/12/2016   MEPERRY   MEPERRY   Claim   CM        Claimant Contact          the ER today.
                                                                            medical records and information for new MD pending from clmt to complete contact and continue benefits
1/14/2016   MEPERRY   MEPERRY   Claim   MD        Medical Status/Management s/w clmt yesterday requesting information
1/19/2016   MEPERRY   MEPERRY   Claim   RC        Review for Closure        claim not appropriate for closure at this time as treatment continues and clmt remains out of work




    CONFIDENTIAL                                                                                                                                                                                           DR 000200
